AO 440 (Rev. 01/09) Case
                    Summons1:12-cv-01254-JTN               ECF
                           in a Civil Action - MIWD (Rev. 10/12)                      No. 4, PageID.13 Filed 11/13/12 Page 1 of 1

                       SUMMONS IN A CIVIL ACTION
     UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                               Sara Eager,
                                Plaintiff,                                                                       Case No. 1:12-cv-1254
                                                                                                                 Hon. Janet T. Neff
                                                                                               TO: Enhanced Recovery Company, LLC
                                   v.
                                                                                          ADDRESS: c/o Capitol Corporate Services, Inc., registered agent
         Enhanced Recovery Company, LLC,                                                                   712 Abbott Road
                   Defendant.                                                                              East Lansing, Michigan 48823


                                                                                                     PLAINTIFF OR PLAINTIFF’S ATTORNEY NAME AND ADDRESS
A lawsuit has been filed against you.
                                                                                                       Phillip C. Rogers (P34356)
                                                                                                       40 Pearl Street, N.W., Suite 336
YOU ARE HEREBY SUMMONED and required to serve
                                                                                                       Grand Rapids, Michigan 49503
upon plaintiff, an answer to the attached complaint or a motion
under Rule 12 of the Federal Rules of Civil Procedure within
  21        days after service of this summons on you (not                                           TRACEY CORDES, CLERK OF COURT
counting the day you received it). If you fail to respond,
judgment by default will be entered against you for the relief
demanded in the complaint. You must also file your answer
or motion with the Court.
The Court has offices in the following locations:

   399 Federal Building, 110 Michigan St., NW, Grand Rapids, MI 49503
   P.O. Box 698, 229 Federal Building, Marquette, MI 49855
   107 Federal Building, 410 W. Michigan Ave., Kalamazoo, MI 49007
   113 Federal Building, 315 W. Allegan, Lansing, MI 48933

                                                                                                                                                                    November 13, 2012
                                                                                                       By: Deputy Clerk                                                    Date


                                                                                  PROOF OF SERVICE
This summons for                        Enhanced Recovery Company, LLC                                               was received by me on                                             .
                                             (name of individual and title, if any)                                                                               (date)


 I personally served the summons on the individual at
                                                                                                                            (place where served)
on                                .
                      (date)


  I left the summons at the individual’s residence or usual place of abode with                                                                                               , a person
                                                                                                                            (name)

of suitable age and discretion who resides there, on                                                            , and mailed a copy to the individual’s last known address.
                                                                                          (date)


  I served the summons on                                                                                                         , who is designated by law to accept service
                                                                            (name of individual)

of process on behalf of                                                                                                                        on                                         .
                                                                            (name of organization)                                                                (date)


  I returned the summons unexecuted because                                                                                                                                            .
  Other (specify)                                                                                                                                                                     .

      My fees are $                                       for travel and $                                           for services, for a total of $                                    .
I declare under the penalty of perjury that this information is true.
Date:
                                                                                                                                       Server’s signature

Additional information regarding attempted service, etc.:
                                                                                                                                Server’s printed name and title



                                                                                                                                     Server’s address
